   Case: 1:19-cv-05161 Document #: 35 Filed: 10/03/19 Page 1 of 2 PageID #:5457




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MERCIS B.V.,                                                 Case No.: 1:19-cv-05161

          Plaintiff,                                          Judge Thomas M. Durkin

    v.                                                        Magistrate Judge Maria Valdez

 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                  46                                     flymall


DATED: October 3, 2019                                Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
                                                      Telephone: 312-675-6079
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE
    Case: 1:19-cv-05161 Document #: 35 Filed: 10/03/19 Page 2 of 2 PageID #:5457




       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 3, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
